CaSe 2:05-cr-20112-.]DB Document 38 Filed 07/01/05 Page 1 of 2 Page|D 37

 

IN THE UN|TED STATES DlSTR|CT COUFtT m Bv_. _____.o.¢
FOFt THE WESTEFiN DlSTHlCT OF TENNESSEE _
WESTEFIN DlVlSlON 95 J[}L -| m 12 51
UN|TED STATES OF AMER|CA U: 3 ggémm wm
.. %TNMMB
Plarntrff
VS. Cl=l. NO. 05-20112-B
RAFAT MAWLAW|,

K|MBERL¥ SHANEKV|A NETI`ERS,

Defendants.

 

ORDER ON CONTINUANCE AND SPEC|FYING PEFi|OD OF EXCLUDABLE DELAY
ANDSETNNG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendants requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case. `

The Court granted the request and reset the trial date to November 7, 2005 with a
report date of Monday, October 31l 2005l at 10:30 a.m., in Courtroorn 1 , 11th Floor of the
Federa| Bui|ding, Memphis, TN.

The period from Ju|y 15, 2005 through November 18, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a s£leedy tria|.

rT rs so oRDEnED this 31 da ne, 2005.

 

.DZ\ rEL BHEEN
uNrT DsTATEs DlsTHrCT l_JDGE

Thls docr_ment entered on the docket sheet ln compliance
with Rtlle 55 and/cr 321bt FRCrP on ' '

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UNITED sTATE DISIC COURT - WESTER D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Lorna S. MeClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable J. Breen
US DISTRICT COURT

